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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE



MARY LOU WENDELL                                       )
                                                       )
               Plaintiff                               )
                                                       )
V.                                                     )
                                                       )
CYNTHIA RUMERY-TAYLOR,                                 )       COMPLAINT
PORTLAND (MAINE) POLICE                                )       (JURY TRIAL DEMAND)
DEPARTMENT and CITY OF PORTLAND,                       )
MAINE                                                  )
                                                       )
               Defendants                              )




       Plaintiff Mary Lou Wendell, by and through her undersigned attorneys, hereby files suit

against the above-captioned Defendants, and in support thereof, states as follows.



                                JURISDICTION AND VENUE

1.     This Court has jurisdiction over this action against the Defendants pursuant to 42 U.S.C.

       §1983 as well as 28 U.S.C. § 1331.

2.     Venue is properly vested in this Court because Plaintiff and the Defendants are residents

       of this District and the acts complained of occurred within the jurisdiction of this District

       (specifically, Cumberland County, Maine).




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                                           PARTIES

3.   Plaintiff Mary Lou Wendell is an individual and a resident of the City of Portland, State

     of Maine.

4.   Upon information and belief, Defendant Officer Cynthia Rumery-Taylor is and was at

     times relevant an officer employed by the Portland, Maine Police Department.

     Defendant Rumery-Taylor is sued here individually and in her capacity as an officer of

     the Portland, Maine Police Department.

5.   Defendant Portland, Maine Police Department is a police department in the State of Maine,

     duly organized as such under the laws of the State. At all relevant times hereto, the said

     Defendant Portland, Maine Police Department acted by and through its agents, servants

     and/or employees. It is responsible for the policies, procedures, practices and customs

     created, promulgated, implemented and enforced at the Portland, Maine Police

     Department, through its various agencies, agents, departments, representatives, officials,

     and/or employees.

6.   Defendant City of Portland, Maine is a city situated in the State of Maine, organized as such

     under the laws of the State. At all relevant times hereto, the said City of Portland, Maine

     acted by and through its agents, servants and/or employees. It is responsible for the

     policies, procedures, practices and customs created, promulgated, implemented and

     enforced at the Portland, Maine Police Department through its various agencies, agents,

     departments, representatives, officials, and/or employees.



                                FACTUAL BACKGROUND

7.   Plaintiff incorporates by reference all of the above paragraphs as if set forth fully herein.




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8.    On October 10, 2014, Plaintiff Wendell was at her home at 146 Ledgewood Street,

      Peak’s Island, in Portland, Maine with a friend, Donald Shall, and her three minor

      children watching a movie.

9.    As of that date and time, Plaintiff Wendell was separated from her husband, Arn Pearson,

      with whom she was then engaged in a long-continuing and acrimonious divorce.

10.   At approximately 8:45 p.m. on October 10, 2014, Mr. Pearson traveled to the Peak’s

      Island Landing and there complained to Officer Rumery-Taylor that Plaintiff Wendell

      had come upon his separate property and committed the crime of criminal trespass earlier

      in the day.

11.   At approximately 9:00 p.m. on October 10, 2014, Mr. Pearson continued to 146

      Ledgewood Street and placed some medication for one of the parties’ minor children in

      the mailbox at that residence.

12.   All was quiet and peaceful at 146 Ledgewood Street.

13.   At approximately 10:15 p.m. on October 10, 2014, Mr. Pearson asked that Defendant

      Rumery-Taylor escort him to 146 Ledgewood Street to check on the condition of the

      parties’ minor child Benjamin.

14.   At approximately 10:59 p.m. on October 10, 2014, Mr. Pearson and Defendant Rumery-

      Taylor arrived at 146 Ledgewood Street and commenced walking around the property

      peering into windows.

15.   Again, all was quiet and peaceful at 146 Ledgewood Street.

16.   Plaintiff Wendell and Mr. Shall noticed Mr. Pearson and Defendant Rumery-Taylor and

      confronted them, asking what their business was at the premises in the middle of the

      night.




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17.   Defendant Rumery-Taylor stated that she was on the property for the purpose of

      conducting a “well child” check on the parties’ minor child Ben. Plaintiff allowed

      Defendant Rumery-Taylor to do this and produced Ben for her. At that point, Defendant

      Rumery-Taylor began accusing Plaintiff Wendell of committing criminal trespass.

      Plaintiff Wendell attempted to return to the inside of the home where the children were

      becoming visibly upset but her passage was blocked by Defendant Rumery-Taylor.

18.   Defendant Rumery-Taylor asked Mr. Pearson if he wished to press charges and Mr.

      Pearson responded in the affirmative.

19.   Mr. Pearson, himself an attorney familiar with proper criminal processes, instructed

      Defendant Rumery-Taylor to simply summons Plaintiff Wendell and not to arrest her.

20.   Ignoring the instruction received from Mr. Pearson, Defendant Rumery-Taylor

      immediately handcuffed Plaintiff Wendell and placed her under arrest.

21.   In the course of handcuffing and arresting Plaintiff Wendell, Defendant Rumery-Taylor

      exercised excessive force upon her, assaulted and injured her.

22.   All of the foregoing was witnessed by Plaintiff Wendell’s minor children, who were

      traumatized and greatly emotionally distressed.

23.   Plaintiff Wendell was transported by fire boat and police car to the Portland Police lock-

      up, wearing only pajamas, a sweatshirt and one clog.

24.   According to Defendant Rumery-Taylor’s report, Plaintiff Wendell was in custody as of

      23:16:31, sixteen minutes after the arrival of Defendant Rumery-Taylor and Mr. Pearson

      upon the Ledgewood Street property.

25.   Although Plaintiff Wendell attempted to retreat from the confrontation with Defendant

      Rumery-Taylor, at no time did Plaintiff Wendell physically resist arrest by striking




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        Defendant Rumery-Taylor nor make any directed physical contact to Defendant Rumery-

        Taylor.

26.     The conduct of Defendant Rumery-Taylor, as set forth above and herein, violated Plaintiff

        Wendell’s constitutional rights as guaranteed by the United States Constitution, and as

        remediable pursuant to 42 U.S.C. §1983.

27.     At all times relevant hereto, Defendant Rumery-Taylor acted under the color and guise of

        state and local laws.

28.     The conduct of Defendant Rumery-Taylor, as set forth above and herein, acting under the color

        and guise of state and local law, was recklessly and deliberately indifferent to the safety,

        bodily integrity and well-being of Plaintiff Wendell and was so egregious as to shock the

        conscience.

29.     Alternatively, Defendant Rumery-Taylor acted with malice towards Plaintiff Wendell

        or, alternatively, the actions of Defendant Rumery-Taylor were of such an egregious

        and outrageous character and nature that malice can be inferred therefrom or malice is

        implied therein.



                              COUNT I
      DETAINER/SEIZURE WITHOUT LEGAL CAUSE, FALSE ARREST, USE OF
           UNREASONABLE, MALICIOUS AND/OR EXCESSIVE FORCE

                                    42 U.S.C. SECTION 1983


30.     Plaintiff Wendell incorporates by reference all of the above paragraphs as if set forth fully

        herein.

31.     On October 10, 2014, the Defendant Rumery-Taylor committed an unlawful

        detainer/seizure of Plaintiff Wendell and a false arrest, and used unreasonable, malicious




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         and/or excessive force upon her, in violation of law and Plaintiff Wendell’s civil rights.

         WHEREFORE, Plaintiff demands judgment against Defendant Rumery-Taylor for

compensatory damages as are reasonable in the premises and for punitive damages, and for such

other relief as this Court deems just and for a trial by jury on all issues so triable as a matter of

right.



                                    COUNT II
                   FAILURE TO TRAIN AND SUPERVISE PERSONNEL
                           VIOLATION OF CIVIL RIGHTS


 32.     Plaintiff Wendell incorporates by reference all of the above paragraphs as if set forth fully

         herein.

 33.     Plaintiff Wendell had fundamental and well-established rights to be free from unlawful

         detainer/seizure, false arrest and unreasonable/malicious and/or excessive force by

         Defendant Rumery-Taylors.

 34.     The unlawful detaining/seizure and arrest of Plaintiff Wendell, as well as the infliction of

         unreasonable/malicious and excessive force upon her, violated Plaintiff Wendell's

         substantive rights guaranteed by the United State Constitution.

 35.     The violations of Plaintiff Wendell's substantive constitutional rights, and her resulting

         injuries, were caused, at least in part, by Defendant’s Portland’s and Portland Police

         Department's failure(s) to properly supervise, educate, instruct, train and/or control their

         personnel in general, as well as in the following specific respects: (a) Failing to

         adequately supervise, instruct, train, and educate their officers in regard to

         appropriate detainer/seizure and arrest; (b) Failing to adequately supervise, instruct,

         train, and educate their officers respecting force continuums, and ensure that force




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       continuums were properly implemented, enforced and followed, so as to expose

       members of the public, including Plaintiff Wendell, to the least possible level of

       force, including no force whatsoever and (c) Failing to adequately supervise,

       instruct, train, and educate their officers respecting the avoidance of excessive

       force, generally.

36.    The above-referenced failures of Defendants Portland and the Portland Police Department

       directly and proximately led to the damages sustained by Plaintiff Wendell.

       WHEREFORE, Plaintiff demands judgment against Defendants Portland and the Portland

Police Department for compensatory damages as are reasonable in the premises and such other

relief as this Court deems just and for a trial by jury on all issues so triable as a matter of right.



       DATED at Lewiston, Maine this 9th day of October, 2015.



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